Case 1:04-cv-10981-PBS Document 12-3 Filed 12/15/04 Page 1 of 9

Exhibit B
Dec-09-04

08:17an Cee@edi Ar Cy bAPR1-PBS Documentesiiséea7Filed 12/15/03 Page/®eof B-c03

AFFIDAVIT OF JOHN W. (DON) BARRETT

STATE OF MISSIS:3iPPI
COUNTY OF HOLLIES

| was a Car er Scholar at the University of Mississippi, graduating magna cum laude in
1987. While at O.2 Miss, | was a member of numerous scholastic and leadership honorary
societies, was editc: of the 1967 Ofe Miss yearbook, and was elected to the University Hall of
Fame. | graduated ‘vith honors from the Ole Miss Law School in 1969.

| am one of t./o partners of a fourteen-lawyer firm called Barrett Law Office, P.A. This firm
has been actively e gaged in the practice of law in Lexington, Mississippi, since March of 1933,
and now also maint: ‘ns an office in Nashville, Tennessee. Both of the firm’s managing partners
are rated AV by Mar indale-Hubbell.

For more th::n thirty-four years | have maintained an active trial practice throughout
Mississippi, and hav: substantial experience in state and federal courts throughout the nation,
primarily in product !iability, environmental torts, and consumer fraud.

lam a former chairman of the toxic torts section of the Mississippi Trial Lawyers
Association, a founcing member of the Charles Clark Inn of Court in Jackson, the founding
president of the Missi::sippi Community College Attorneys Association, and was the Mississippi Bar
delegate to the 1992 and 1994 Fifth Circuit Judicial Conferences.

Basically, | make my living preparing and trying iawsuits for injured plaintiffs. | have not
kept count of the cas:s | have tried, but there have been many. | have won a substantial majority
of the cases that | hee tried. | have lost some cases, too.

Since 19861} ave taken a national leadership role in litigation against cigarette companies.
| am one of only three: plaintiff's attorneys in the United States to have tried three tobacco liability

cases through jury s: ibmission. { had a leadership role in the massive Castano class action

litigation in the U. S. district Court in New Orleans, and in its related state class action cases
Dec~09-04

09:17am CASE A4rewb8981-PBS Documents2s%37Filed 12/15/03 Pagne/aeof Bs03

around the country. [am one of the attorneys who represented the State of Mississippi, through
Attorney General lV ke Moore, in the state's successful efforts to recover its cigarette-related health
care monies spent ver the past years, | also represented the Attorneys General of New York,
Louisiana, Arizona, Washington, Indiana, Alaska, Idaho, Oregon, Rhode Isiand, Ohio, Vermont,
lingis, and the Cc: nmonwealth of Puerto Rico in their successful litigation against the tobacco
industry. | was or ? of three plaintiffs’ attorneys who negotiated the landmark settlement with
Liggett Group ann: unced in March of 1996, as well as one of the lead attorneys in the historic
settlement agreem::nt entered into by twenty-two Attorneys General with Liggett Group on March
20, 1997. My tobac::o litigation experiences have been chronicled in various national publications,
including the ABA J 2urnal, The New York Times, The American Lawyer, the Wall Street Journal.
and The Washingt:.n Post. | have been featured in two books concerning tobacco litigation:

(Comered: Big Tot :cco at the Bar of Justice, by Peter Pringle (Henry Holt and Company, New

York City, 1998); ari) The People vs. Big Tobacco, by Carrick Mollencamp, et al (Bloomberg Press,

Princeton, N.J., 19§°3), and my experiences in tobacco litigation are the primary focus of another

book, Assuming the Risk, by Michael Orey (Little, Brown & Co., New York City, September, 1999).

| have also k :en featured on national television shows, including CBS's 60 Minutes, ABC's

Day One, CNN’s Mc 1eyline, Court TV's Cochran & Grace and Pro's & Con’s, British Broadcasting

Company (BBC)’s T 1e¢ Tobacco Wars, which was rebroadcast in the United States by The Leaming
Channel, for my wo-< in tobacco litigation, and on NBC’s Dateline concerning my insurance fraud
litigation,

One case w.lich | have concluded is the class action case of Nealy v. Woodman of the
World Life Insuran-e Society. This was a discrimination case brought against an insurance
company, in which |: vas co-lead caunsel. This case was settled for $23.1 million, which settlement

was approved by Chief Judge William H. Barbour, Jr., of the U. S. District Court for the Southern
Dec-08-04 09:17an CASRed QC b8981-PBS Documentsts@37Filed 12/15fei3 Prageyebeof @s08

District of Mississi: pi in August of 1995, In approving this settlement, Judge Barbour had the
fallowing to say:

THE: GCOURT...I have got a very brief statement to make that] want
to niake into the record...

Des ite the protestations of Woodmen as to their innocence of
disc: imination, | think itis fairly clear that the company has since its
ince ytion practiced invidious racial discrimination against African-
Ami: ican citizens. | think that obviously...this lawsuit has been the
imp: tus on the very direct actions of Woadmen to hire black agents
and to begin very actively selling and soliciting to black
policyholders. This should also move to remove the discrimination
fron: the lodge systems and other fraternal benefits.

| thi-k that this is a very good example as to how the class action
suit "an be made and used to make substantial changes that need
to b: made and which could not be made but for the fact that there
is e ough reward system in it for diligent counsel on the class
plair ‘iffs' side to make substantial investments not only of time but
also >f dollars to prosecute these cases.

So: think that this is a very good example of how (the) private
atio: 1ey general idea under the class action mechanism can be
usec. to obtain very real results and | see the results in this case not
so ruch in the substantial settlement of $23 million, which will
bene fit these class members, but in the breakdown of a very strong
syst: m of racial discrimination which has apparently been followed
by th s company until it had the heat put on it by this lawsuit...

Accu ‘dingly, | congratulate the class counsel for the settlement that

you j.ave made, for the progress you have made in regard to this

parti: ular company and for the results that have been obtained.

| understan:. that | have a good reputation among the bar that | practice with and against.

Alex Alston, a past ;: resident of the Mississippi Bar, said the following in an affidavit dated August
2, 1995, filed in sup, ort of our petition for approval of the settlament in the above-mentioned Nealy
case:

This s a contingent fee case in which a commen fund has been

crea'?d whereby monetary benefits will extend to an ascertainable

class. of persons similarly situated. Members of the class will be

bene itted substantially as a result of what | regard as remarkable

visio-, skill and expertise of class counsel. Class counsel assumed

4
a
Dec-09-04

09:17am CARER Ode dG981-PBS DocumentségsQa7Filed 12/1510s43 Rageydsof G03

the [all risk of this case and took the case from a full denial of liability
to <1 offer by defendant of a paltry sum, then to the remarkable
res:. it ultimately reached in the case. This case represents an
exc: lent example of the “private attorney general” vindicating the
rights of individuals who otherwise might not consider it worth the
canile to individually embark on litigation of this nature.

ee wR

Hig: ly skilled and competent counsel were required to achieve these
resi|lts, from the basic formulation of a theory and a filing of a class
acti: n complaint to the class action settlement before this court. In
my pinion, the members of the team working together to resolve
this matter on behalf of the class were highly skilled, and their
res|: sctive talents were necessary to bring about this remarkable
resu t. All of class counsel (have) previously been involved in class
acti.n and complex litigation over the country, especially in the
soulieastern United States.

Cla:s counsel Don Barrett has been practicing law primarily on the
side: of plaintiffs in the southeastern United States for aver 25 years.
| have observed him and worked with him throughout his practice.
He :: an extremely highly skilled plaintiffs lawyer who is recognized
as «'1e of the best in this state,

] confess tliat | am not held in high esteem by everybody. My great friends at Adams &
Reese, a high qui ity, blue chip defense firm in New Orleans which represents mostly major
corporations, in Se: tember of 2002 declined an invitation from my firm to associate in a new case,
pointing out in an i: ternal memorandum that “Barrett.... is seen as the devil incarnate by many of
our clients.”

[was lead cuunsel in Houchens, et alv. Rockwell, a complex environmental tort case which
resulted ina $218 million verdict for the plaintiffs on May 31,1996, after a two-month trial in
Russellville, Kentu.:<y. After multiple trips through the Kentucky appellate system, this verdict was
finally overturned it the fall of 2004. We should have settled. Over the past several years | have
tried and collected :lamages for various plaintiffs in other environmental cases, the totai of which

exceeds $35 millio: .

| also repre: snted the State of Mississippi in its effort to recover monies lost by Mississippi
Dac-09-D4

08:17am CAGCRIO4- CM 40981-PBS Documentsé@3@3re-iled 12/157043 Reagerdsof Re03

consumers, and b. the state itself, as a result of an alleged price-fixing conspiracy among infant
formula manufacti ‘ers. | was also co-counsel for plaintiffs in state court class-actions in thirteen
state court actions | wolving this same price-fixing conspiracy. These cases resulted in multi-million
dollar settlements «1 twelve of these states, but only in the making of some bad lawin the thirteenth
state (Louisiana), «.n a remand issue that plaintiffs lost in a tie vote (4-4) before the U.S. Supreme
Court in March of : 000.

| was the |:ad Court-appointed counsel for the plaintiffs in the litigation against General
Moiors Corporatio’ concerning the "sidesaddle" fuel tank litigation. Final approval of a nationwide
settlement with ar inimum value to the class of $500 million was achieved in April of 1999.

| was co-lead counsel in the national class action against Chryster Corporation for its
defective rear min: fan door latches. In this case, a settlement was reached in the U.S. District
Court for the Midd::: District of California in the fall of 1995, and was finally approved by the Ninth
Circuit Court of Appeals in early 1999.

] was lead counsel for the plaintiffs in Cox v. Shelf Oi! Co., ef al, in the state court in
Tennessee, a clas: action case conceming defective home plumbing systems; this case resulted
in a nation-wide se!lement in November, 1995, of $950 million, by far the largest property-damage
settlement ever ac: ieved in this country. As aresult of the Cox litigation, on July 22, 1997, | was
awarded the Public: Justice Achievement Award by the Trial Lawyers for Public Justice Foundation
“in recognition of (’ 1y) extraordinary contribution to the public interest.”

| was co-le:d counsel for the plaintiff class in Hofmes v. Trustmark National Bank, et al,
U.S.D.C., So. Dist Vississippi, No 1:95cv323BrR, a forced-placed insurance class action which
resulted in an $8.8 | nitlion settlement approved by Judge Bramlette on June 4, 1997. In appreving
the settlement, the Court referred to my “substantial experience in mass-tort litigation” and wrote

that class counsel“ igorously and zealously represented (the class members’) interests throughout
Dec-09-04

O9:17an CASRBInGe Cur dGR81-PBS Documentségs@a7Filed 12/15t0ets Rageyidsof @s03

this litigation.”

| was lead -lass counsel and lead trial attorney for the plaintiffs in a national class action
against State Farr Mutual Insurance Company in Illincis, concerning State Farm’s use of imitation
crash parts in autc repair. Affer a seven-week trial ending in October of 1999, the jury awarded
a verdict of $456 r illion and an additional $600 million in punitive damages was awarded by the
trial judge. This is he largest verdict ever rendered in the State of Illinois and the largest against
any insurance com any in the United States. As a result of that litigation, | was named the first-

ever “Litigator of tr.2 Month” by the National Law Journal in its issue of November 22, 1999. This

verdict was subse: uently affirmed by a unanimous Iiinois Court of Appeals, and is currently on
appeal to the Illino:: Supreme Court.

On Noveml:2r 22, 2000, | was appointed as the Lead Class Counsel by Chief Judge Sarah
Evans Barker in the ongoing Bridgestone/Firestone/Ford tire and Explorer litigation, centralized in
the U.S. District Cu art for the Southern District of Indiana (MDL No. 1373).

In the Suminer of 2001, | was named by Judge Kathleen O'Malley, U.S.D.C., Northern
District of Ohio, tc the Plaintiffs’ Steering Committee in In Re: Inter-Op Hip Prosthesis Liability
Litigation, MDLNc 1401, and! was a principal negotiator for the plaintiff class for a $1.045 billion
settlement reachec! with defendants, which settlement was finally approved by Judge O'Malley on
May 22, 2002.

On Deceml:2r 20, 2002, 1 was appointed co-lead counsel for the plaintiff class by Judge
Donald C. Nugent in the ongoing /n Re: Ford Motor Co. Panther Platform/Fuel Tank Design
Products Liability ,, tigation, MDL Dacket No. 1488, pending in the U.S. District Court for the
Northern District of Ohio.

| was lead c:: unsel inthe “alternative commission” class action litigation against Progressive

Insurance Compar /, in which a nationwide settlement valued by the court at $493 million was
Dec 08-04 08:18am GARR O4-CN-dORB1-PBS Documentih?s@a7eFiled 12/15/1443 FRange'staof 603

reached in the Circ iit Court of Johnson Caunty, Illingis, with final approval being given by the court
on November 14, 002. In its order granting class counsel's petition for fees, the court said:

Cla:s Counsel were highly competent. The Class Counsel who
pro:ecuted this case have an impressive background, and
sur: tantial experience in prosecuting similar cases on behalf of
larc:2 classes against well-funded corporations. Itis evident from the
rec rd that Class Counsel worked efficiently, aggressively, and with
a hujh degree of professionalism.

Last year, | vas co-lead trial counsel with Richard Scruggs in a national class action in the
U.S. District Court or the Central District of California, entitled Austin, et af. v. Lehman Brothers,
inc., et al. At the sonclusion of this three-month trial, on May 14, 2003, Judge David O. Carter
made the following statement:

Mr. Barrett you are a superb attorney. Truly this jury has come to recognize your

humor and your competency. | will never forget you looking for the elephant on

your tiptoe:

Your co-eq) al presentation in this matter and the words spoken to Mr. Scruggs are

equally app icable to you. Mr. Scruggs mantioned to Ms. Duncan in this Court that

he had mei fou after you had apparently given him a difficult lesson in trial practice.

You've bee courteous, You've been competent. The class is, indeed, fortunate

to have you. as a presenter.

You mastelsd the complicated fact situations and brought clarity in this Court’s

opinion to :n extremely complex area, on behalf of your clients, and it was very

helpful to th:2 jury.

After five w: eks of deliberation, the jury on June 16, 2003, returned a verdict for the plaintiff

class. According 1: the Los Angeles Times, “the verdict marked the first time a financial backer

of an abusive lend: r has been held liable, carving out a new area of vulnerability for Wall Street.”
On Septerr ber 17, 2003, | was appointed plaintifis’ co-lead counsel in In Re Welding Rods
Litigation (MDL 15:5) by the U_S, District Court in Cleveland, Ohio.
On Januar, 28, 2004, | was appointed plaintiffs’ co-lead counsel in /n Re Unitrin MDL
Litigation (MDL 72:32) by the U.S. District Court for the Eastern District of Louisiana in New
Orleans, Louisiane

These days: | am frequently invited to speak at nationally-recognized legal seminars and
Dec-09-04 09:18am CRagieBar@4-GN-@R81-PBS Documente&@xQs7iFiled 12/157a¢3 Prenge’ods of Ps03

conferences. | hav
invited speaker at tt

and | am the co-chi:

2 spoken twice at Practicing Law Institute seminars in New York City, am an
2 American Conference Institute seminar in New Orleans in November of 2004,

rman of the Mealey’s Welding Rods Litigation Conference to be held in West

Palm Beach in Oct: ber of 2004. [ have also been invited to be a faculty member at the Sedona

Conference on Co-

include the Genera
and the managing
In an article
edition of Insight, a
“one of the nation’:

consider myself to *

Further, affiz

SWORN TC:

= "My Commesion Expites .
(SEAL) sues. 2005
2 :
37. PUBIC
%y fee ett

“iy, *k :
“Hi

Wig in

4
CN

iplex Litigation to be held in April of 2005. (Other faculty members invited

Counsel of General Motors Corporation, the General Counsel for Pfizer, Inc.,

sartner of the Jones Day law firm.)

antitled “Victory at Hand for GOP Tort Reform?” in the February 3-16, 2004,
jational news magazine, | was extensively quoted, and described therein as
leading litigators.” | believe that description to be an exaggeration, but 1 da

‘@ an experienced plaintiffs’ attorney and class action litigator.
nt sayeth not.
John W. (Don) Barreit

and subscribed before me, on this the 23rd day of November, 2004.

‘ ~~"
we

Hig

S

(— Rees £.. AL eye
a

Notary Public

My Commission Expires: G-5- OS

